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11 Attorneys for Defendants

12                                  UNITED STATES DISTRICT COURT

13                               NORTHERN DISTRICT OF CALIFORNIA

14                                       SAN FRANCISCO DIVISION

15
     NATIONAL TPS ALLIANCE, et. al.,                  Case No. 3:25-cv-1766-EMC
16
                            Plaintiff,
17         v.
                                                      Judge: Hon. Edward M. Chen
18   KRISTI NOEM, in her official capacity as
     Secretary of Homeland Security, et. al.,         DECLARATION OF KATELAND JACKSON
19
                              Defendants.
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     DECLARATION OF KATELAND JACKSON
     No. 3:25-cv-1766-EMC
          Case 3:25-cv-01766-EMC            Document 182-1        Filed 06/05/25      Page 2 of 3




 1          I, Kateland Jackson, hereby declare under penalty of perjury pursuant to 28 U.S.C. § 1746:

 2          1.      I am the Chief of Staff at the Office of General Counsel within the Department of

 3 Homeland Security (“DHS”). As the Chief of Staff, I supervise attorneys and other professional staff

 4 who are coordinating efforts at DHS Headquarters (DHS HQ) to respond to court orders and discovery

 5 requests in this case, as well as in other litigation in which DHS HQ is a party or has equities. The facts

 6 set forth herein are of my own personal knowledge.

 7          2.      As a threshold issue, the Office for the Chief Information Officer, who is responsible for

 8 DHS technology and systems, confirmed that searching OneDrive is synonymous with searching

 9 employees’ hard drives—i.e., everything saved on an employee’s hard drive is automatically saved to

10 OneDrive.

11          3.      The following court-ordered custodians are current employees of DHS: Deputy Secretary

12 Edgar, Troup Hemenway, Benjamine C. Huffman, Joseph Guy, Robert Law, Corey Lewandowski,

13 Joseph Mazzara, Secretary Noem, Jimmy Percival. The employees were asked whether they used:

14 personal email, messaging on a personal phone, or messaging on a work phone with respect to the TPS

15 decisions at issue in this litigation.

16               a. Mr. Huffman responded, no, to the best of his information and recollection.

17               b. Mr. Percival, Mr. Law, and Mr. Mazzara responded, no.
18
                 c. Mr. Hemenway and Mr. Guy do not use their personal devices for work purposes and
19
     have no recollection of deviating from that practice here. They similarly, to their best recollection and
20
     belief, did not use text messaging applications on their work phones.
21
                 d. I have not yet been able to personally discuss this issue with the Secretary, Deputy
22

23 Secretary, and Corey Lewandowski, but my understanding based on what was relayed to me by those

24 who discussed this with them is that they do not use their personal devices for work purposes and have

25 no recollection of deviating from that practice here. They similarly, to their best recollection and belief,

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     did not use text messaging applications on their work phones.
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 1          4.     Based on information provided to me in the course of my employment, the following court-

 2 ordered custodian left DHS on or around February 27, 2025: Tony Pham.

 3

 4
     Executed at Washington, D.C. on this 5th day of June, 2025.
 5
                                                  KATELAND R Digitally signed by
                                                             KATELAND R JACKSON
 6                                                JACKSON    Date: 2025.06.05 21:10:08
                                                ____________________________
                                                             -04'00'


 7                                              Kateland Jackson
                                                Chief of Staff
 8                                              Office of the General Counsel
                                                U.S. Department of Homeland Security
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